        Case 2:04-cr-00177-GMN-NJK            Document 360        Filed 02/25/14      Page 1 of 8




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 6
                                   UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                        )
 9                                                    )
                           Plaintiff,                 )
10                                                    )
            v.                                        ) 2:04-CR-177-GMN-(PAL)
11                                                    )
   FLORIN IANCU, and,                                 )
12 ROUBEN KIRAKOSSIAN,                                )
                                                      )
13                         Defendants.                )
14                            AMENDED FINAL ORDER OF FORFEITURE

15           On April 20, 2011, the United States District Court for the District of Nevada entered a

16 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17 Code, Section 1963(a)(3); and Title 21, United States Code, Section 853(p) based upon the plea of

18 guilty by defendant FLORIN IANCU to the criminal offense, forfeiting the property set forth in the

19 Plea Memorandum and the Forfeiture Allegations of the Second Superseding Criminal Indictment and

20 shown by the United States to have the requisite nexus to the offense to which defendant FLORIN

21 IANCU pled guilty. Second Superseding Criminal Indictment, ECF No. 267; Plea Memorandum, ECF

22 No. 293; Change of Plea, ECF No. 294; Preliminary Order of Forfeiture, ECF No. 296; Final Order of

23 Forfeiture, ECF No. 304.

24           On January 8, 2013, the United States District Court for the District of Nevada entered a

25 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

26 Code, Section 1963(a)(3); and Title 21, United States Code, Section 853(p) based upon the plea of
           Case 2:04-cr-00177-GMN-NJK          Document 360       Filed 02/25/14      Page 2 of 8




 1 guilty by defendant ROUBEN KIRAKOSSIAN to the criminal offense, forfeiting the property set

 2 forth in the Plea Agreement, and the Forfeiture Allegations of the Second Superseding Criminal

 3 Indictment and shown by the United States to have the requisite nexus to the offense to which

 4 defendant ROUBEN KIRAKOSSIAN pled guilty. Second Superseding Criminal Indictment, ECF No.

 5 267; Change of Plea, ECF No. 333; Preliminary Order of Forfeiture, ECF No. 334; Plea Agreement,

 6 ECF No. 335; Final Order of Forfeiture, ECF No. 352.

 7            This Court finds the United States of America published the notice of forfeiture in accordance

 8 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

 9 from November 19, 2013, through December 18, 2013, notifying all potential third parties and notified

10 known third parties by personal service or by regular mail and certified mail return receipt requested,

11 of their right to petition the Court. Notice of Filing Proof of Publication, ECF Nos. 356 and 357.

12 Notice of Filing Service of Process, ECF Nos. 358, 358-1, 358-2, 358-3, and 358-4.
13           On November 14, 2013, Citigroup Inc. c/o CEO Michael Corbat, was served by regular mail

14 and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture. Notice of Filing

15 Service of Process – Mailing, ECF No. 358, p. 5-9 and ECF No. 384-4 p. 6-18.

16           On November 14, 2013, C T Corporation System, Registered Agent for Citicorp Inc., was

17 served by regular mail and certified return receipt mail with the Notice and Preliminary Orders of

18 Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358, p. 10-14 and ECF No. 384-4

19 p. 6-18.

20           On November 22, 2013, C T Corporation System sent a letter to the U.S. Attorney’s Office in

21 Las Vegas stating they were not the Registered Agent for Citicorp Inc. in the state of New York.

22           On January 7, 2014, C T Corporation System, Registered Agent for Citigroup Inc., was served

23 by regular mail and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture.

24 Notice of Filing Service of Process – Mailing, ECF No. 358, p. 15-20 and ECF No. 384-4 p. 6-18.

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        Case 2:04-cr-00177-GMN-NJK            Document 360       Filed 02/25/14     Page 3 of 8




 1          On November 14, 2013, US Bancorp c/o CEO Richard K. Davis, was served by regular mail

 2 and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture. Notice of Filing

 3 Service of Process – Mailing, ECF No. 358-1, p. 1-5 and ECF No. 384-4 p. 6-18.

 4          On November 14, 2013, C T Corporation System Inc., Registered Agent for US Bancrop, was

 5 served by regular mail and certified return receipt mail with the Notice and Preliminary Orders of

 6 Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-1, p. 6-10 and ECF No. 384-4

 7 p. 6-18.

 8          On November 14, 2013, Discover Financial Services (Inc.) c/o President Roger Hochschild,

 9 was served by regular mail and certified return receipt mail with the Notice and Preliminary Orders of

10 Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-1, p. 11-15 and ECF No. 384-4

11 p. 6-18.

12          On November 14, 2013, C T Corporation System, Registered Agent for Discover Financial

13 Services (Inc.), was served by regular mail and certified return receipt mail with the Notice and

14 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-1, p. 16-

15 20 and ECF No. 384-4 p. 6-18.

16          On November 14, 2013, People’s United Financial, Inc. c/o President Jack Barnes, was served

17 by regular mail and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture.

18 Notice of Filing Service of Process – Mailing, ECF No. 358-2, p. 1-5 and ECF No. 384-4 p. 6-18.

19          On November 14, 2013, Susan D. Stanley, Registered Agent for People’s United Financial,

20 Inc., was served by regular mail and certified return receipt mail with the Notice and Preliminary

21 Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-2, p. 6-10 and ECF

22 No. 384-4 p. 6-18.

23          On November 14, 2013, Community America Credit Union c/o CEO Dennis Pierce, was

24 served by regular mail and certified return receipt mail with the Notice and Preliminary Orders of

25 Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-2, p. 11-15 and ECF No. 384-4

26 p. 6-18.

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        Case 2:04-cr-00177-GMN-NJK              Document 360       Filed 02/25/14      Page 4 of 8




 1          On November 14, 2013, Commerce Bank c/o President John W. Kemper, was served by

 2 regular mail and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture.

 3 Notice of Filing Service of Process – Mailing, ECF No. 358-2, p. 16-20 and ECF No. 384-4 p. 6-18.

 4          On November 14, 2013, (Regulated by the Division of Finance), Registered Agent for

 5 Commerce Bank, was served by regular mail and certified return receipt mail with the Notice and

 6 Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-3, p. 1-5

 7 and ECF No. 384-4 p. 6-18.

 8          On November 14, 2013, HSBC Card Services c/o President Patrick Burke, was served by

 9 regular mail and certified return receipt mail with the Notice and Preliminary Orders of Forfeiture.

10 Notice of Filing Service of Process – Mailing, ECF No. 358-3, p. 6-10 and ECF No. 384-4 p. 6-18.

11          On November 14, 2013, The Corporation Trust Company of Nevada, Registered Agent for

12 HSBC Card Services, Inc. was served by regular mail and certified return receipt mail with the Notice
13 and Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-3,

14 p. 11-15 and ECF No. 384-4 p. 6-18.

15          On November 14, 2013, General Electric Company c/o President Jeffrey R. Immelt, was

16 served by regular mail and certified return receipt mail with the Notice and Preliminary Orders of

17 Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 358-3, p. 16-20 and ECF No. 384-4

18 p. 6-18.

19            On November 14, 2013, The Corporation Trust Company of Nevada, Registered Agent for

20 General Electric Company, was served by regular mail and certified return receipt mail with the

21 Notice and Preliminary Orders of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No.

22 358-4, p. 1-18.

23            This Court finds no petition was filed herein by or on behalf of any person or entity and the

24 time for filing such petitions and claims has expired.

25            This Court finds no petitions are pending with regard to the assets named herein and the time

26 for presenting such petitions has expired.

                                                         4
        Case 2:04-cr-00177-GMN-NJK             Document 360        Filed 02/25/14      Page 5 of 8




 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 2 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 3 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 4 32.2(c)(2); Title 18, United States Code, Section 1963(a)(3); and Title 21, United States Code, Section

 5 853(n)(7) and (p) and shall be disposed of according to law:

 6          (1)     Sony Vaio Desk Top computer (serial number: 284711373004449);

 7          (2)     Compaq Presario laptop computer (serial number: 6D22JCH371W9);

 8          (3)     Hewlett Packard laptop computer (serial number: TW13920335);

 9          (4)     Valiant 671DP laptop computer (serial number: T0140E300850);

10          (5)     automated teller machine (AATM@);

11          (6)     Toshiba laptop computer (serial number: 2304502PU);

12          (7)     HP Pavilion 753N (serial number: MX23605319);

13          (8)     Panasonic Palmcorder mini-dv camera, model PV-DV (serial number:

14                  BN07131008488);

15          (9)     HP Office Jet printer (serial number: MY16CB-21YP);

16          (10)    VEO Stingray video camera (serial number: 330VB2AX000-771);

17          (11)    Olympus digital camera (serial number: 237238802);

18          (12)    Compaq Contura laptop computer (serial number: 7529HPB23352);

19          (13)    Sony Vaio laptop computer (serial number: 283216303205876):

20          (14)    HP laptop computer (serial number: TW21618644);

21          (15)    Quantum Hard drive (serial number: 652028547895PGZXX);

22          (16)    Sony MVC-CD 300 digital camera (serial number: 341794);

23          (17)    JVC digital video camera DVM-90 (serial number: 09660914);

24          (18)    Sony Digital Photo Printer DPP-EX5 (serial number: 312788);

25          (19)    Brother LX-900 Printer (serial number: US 2543-MOJ35);

26          (20)    Sony LCD Monitor (serial number: 0424888);

                                                        5
        Case 2:04-cr-00177-GMN-NJK             Document 360        Filed 02/25/14      Page 6 of 8




 1          (21)    Sharp Display Monitor (serial number: 203418267); and

 2          (22)    an in personam criminal forfeiture money judgment of $1,000,000.00 in United States

 3 Currency.

 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 5 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

 6 income derived as a result of the United States of America’s management of any property forfeited

 7 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

 8          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 9 certified copies to the United States Attorney’s Office.

10          DATEDthis
            DATED  this___
                        25th
                           dayday of February, 2014.
                               of ______________, 2014.

11

12                                                          ________________________________
                                                             Gloria M. Navarro, Chief Judge
13                                                           United States District Court
                                                  UNITED STATES DISTRICT JUDGE
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        Case 2:04-cr-00177-GMN-NJK           Document 360        Filed 02/25/14     Page 7 of 8




 1                                         PROOF OF SERVICE
 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Amended Final Order of Forfeiture on February 18, 2014,

 4 by the below identified method of service:

 5         CM/ECF
 6         Michael Paul Kimbrell                                  Thomas F. Piataro
           Michael P. Kimbrell, LTD                               1212 S. Casino Center Blvd.
 7         523 S. 8th Street                                      Las Vegas, NV 89104
           Las Vegas, NV 89101-7002                               thomaspitaro@yahoo.com
 8         mpkimbrell@aol.com                                     Attorney for Eduard Andronescu
           Attorney for Florin Iancu
 9                                                                Janelle Lavigne
           Alex R. Kessel                                         Gage & Gage
10         Law Offices of Alex R. Kessel                          7455 West Washington Ave. #415
           15910 Ventura Blvd. Ste. 1030                          Las Vegas, NV 89128
11         Encino, CA 91436                                       efile@gagelawfirm.com
           kessellaw@sbcglobal.net                                Attorney for Georgiana Viorica
12         Attorney for Rouben Kirakossian                        Muresan
13         Donald J. Green                                        Robert M. Draskovich, Jr.
           Law Offices of Donald J. Green                         Robert M. Draskovich, Chtd.
14         4670 S. Pecos Rd., Ste. 103                            815 S. Casino Center
           Las Vegas, NV 89121                                    Las Vegas, NV 89101
15         crimelv7777@aol.com                                    emangana@draskovich.com
           Attorney for Rouben Kirakossian                        Attorney for Georgiana Viorica
16                                                                Muresan
           Brian M. Fisher
17         Law Office of Brian M. Fisher                          Robert G. Lucherini
           228 S. Fourth St.                                      Robert Lucherina Chtd.
18         Las Vegas, NV 89101                                    518 S. 9th St.
           lvcriminaldefense@yahoo.com                            Las Vegas, NV 89101
19         Attorney for Sam Magzanyan                             ainnocent1@aol.com
                                                                  Attorney for Armenoui Garibian
20         Charles E. Kelly
           Charles E. Kelly & Associates                          John T. Moran, III
21         706 S. Eighth                                          Moran Law Firm
           Las Vegas, NV 89101                                    630 S. 4th St.
22         ceklv@aol.com                                          Las Vegas, NV 89101
           Attorney for Eduard Andronescu                         Jt3.moran@moranlawfirm.com
23                                                                Attorney for Nana Ochershvilli
24

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     Case 2:04-cr-00177-GMN-NJK      Document 360       Filed 02/25/14     Page 8 of 8




 1     Michael I Gowdey                                  Travis E. Shetler
       Law Offices of Michael I Gowdey                   Travis E. Shetler, P.C.
 2     Law Offices of Michael I Gowdey                   844 E. Sahara Ave.
       815 S. Casino Center Blvd.                        Las Vegas, NV 89104
 3     Las Vegas, NV 89101                               travisshetler@gmail.com
       mgowdey@aol.com                                   Attorney for Petros Kekedian
 4     Attorney for Marian Iancu
 5
                                 /s/ Ray Southwick
 6                               Ray Southwick
                                 Forfeiture Support Associates Paralegal
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